                           NOT FOR PUBLICATION                           FILED
                    UNITED STATES COURT OF APPEALS                       AUG 27 2024
                                                                      MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS
                           FOR THE NINTH CIRCUIT

UNITED STATES OF AMERICA,                       No. 24-862
                                                D.C. No. 9:21-cr-00032-DWM-1
             Plaintiff - Appellee,

 v.
                                                MEMORANDUM*
KATHY ANN HENDRICKSON, AKA
Kathy Thorberg,

             Defendant - Appellant.

                   Appeal from the United States District Court
                           for the District of Montana
                   Donald W. Molloy, District Judge, Presiding

                           Submitted August 20, 2024**

Before:      S.R. THOMAS, RAWLINSON, and COLLINS, Circuit Judges.

      Kathy Ann Hendrickson appeals from the district court’s order denying her

motion for compassionate release under 18 U.S.C. § 3582(c)(1)(A). We have

jurisdiction under 28 U.S.C § 1291. Reviewing for abuse of discretion, see United



      *
             This disposition is not appropriate for publication and is not precedent
except as provided by Ninth Circuit Rule 36-3.
      **
             The panel unanimously concludes this case is suitable for decision
without oral argument. See Fed. R. App. P. 34(a)(2).
States v. Aruda, 993 F.3d 797, 799 (9th Cir. 2021), we affirm.

      Hendrickson argues that, contrary to the district court’s conclusion, her

medical issues, rehabilitation and low risk of recidivism, and the 18 U.S.C.

§ 3553(a) factors warrant compassionate release.1 The district court fully

considered these arguments, however, and reasonably determined that they did not

support relief. As the court explained, Hendrickson’s medical issues were “far

from extraordinary” and were being treated in prison; her rehabilitative efforts—

while commendable—were not alone enough to justify compassionate release; and

the § 3553(a) factors weighed against release in light of Hendrickson’s criminal

history and the seriousness of her offense. Hendrickson’s disagreement with how

the district court weighed these considerations is insufficient to show an abuse of

discretion. See United States v. Wright, 46 F.4th 938, 948 (9th Cir. 2022); see also

United States v. Robertson, 895 F.3d 1206, 1213 (9th Cir. 2018) (district court

abuses its discretion only if its decision is illogical, implausible, or not supported

by the record).

      AFFIRMED.




1
  Before the district court and in her opening brief, Hendrickson primarily argued
that she was entitled to compassionate release to care for her ailing father. After
appellee filed the answering brief, Hendrickson informed the court that her father
had passed away, and asked this court to consider only her remaining arguments.
Accordingly, we do not address Hendrickson’s arguments concerning her father.

                                          2                                     24-862
